Smith, Brigitte

From: Jason Miles [jem3472@gmail.com]

Sent: Thursday, October 12, 2017 4:13 PM

To: Smith, Brigitte

Subject: Re: FW: Activity in Case 8:17-cv-01877-TJS Bowles v. Wilson et al Affidavit
Ms. Smith:

Checking with client regarding status of discovery request. I'll update as soon as J hear something.

Cordially,

Jason

 

[x] ===! Virus-free. www.avast.com

 

 

 

On Wed, Oct 11, 2017 at 11:21 AM, Smith, Brigitte <Brigitte.Smith@wilsonelser.com> wrote:

Mr. Miles:

Please resend your Expert Designation today. We intend to file a Motion to Compel for your client’s overdue discovery if
the responses are not received by Friday. Please advise regarding their status.

Thanks,

Brigitte Smith

Attorney at Law

Wilson Elser Moskowitz Edelman & Dicker LLP
500 East Pratt Street, Suite 600

Baltimore, MD 21202 -3173

410.962.7224 (Direct)

410.539.1800 (Main)

410.962.8758 (Fax)
brigitte.smith(@wilsonelser.com

From: MDD_CM-ECF Filing@mdd.uscourts.gov [mailto:MDD CM-ECF Filing@mdd.uscourts.gov]
Sent: Tuesday, October 10, 2017 5:25 PM

To: MDDdb ECF@mdd.uscourts.gov
Subject: Activity in Case 8:17-cv-01877-TJS Bowles v. Wilson et al Affidavit

This is an automatic e-mail message generated by the CM/ECF system. Please DO

this e-mail because the mail box is unattended.
1

 
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees
apply to all other users. To avoid later charges, download a copy of each document during this first
viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not

apply.
U.S. District Court

District of Maryland

Notice of Electronic Filing

The following transaction was entered by Miles, Jason on 10/10/2017 at 5:24 PM EDT and filed on 10/10/2017

Case Name: Bowles v. Wilson et al
Case Number: 8:17-cv-01877-TJS
Filer: David Kevin Bowles

Document Number: 17

Docket Text:
AFFIDAVIT Rule 26(a)(2) Disclosure by David Kevin Bowles(Miles, Jason)

8:17-cv-01877-TJS Notice has been electronically mailed to:

Brigitte Joelle Smith — brigitte.smith@wilsonelser.com, faith.erline@wilsonelser.com
Jason Eugene Miles jem3472@gmail.com, JEM@Craighendersonlaw.com
8:17-cv-01877-TJS Notice will not be electronically delivered to:

The following document(s) are associated with this transaction:

Document description: Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp_ID=1046883720 [Date=1 0/10/2017] [FileNumber=7708856-
0] [253dcf50d221bc061d44173a6b86772bb] 1 05fb858ab06b 1 76e0a5 1 cc4al2e60c8
ee8d04bcd665a943 9abfl 7£4e9f2f6aa7e0da2 14c79d2490cbae0ff823acd6]]

CONFIDENTIALITY NOTICE: This electronic message is intended to be
viewed only by the individual or entity to whom it is addressed.

It may contain information that is privileged, confidential and
exempt from disclosure under applicable law. Any dissemination,
distribution or copying of this communication is strictly prohibited
without our prior permission. If the reader of this message is not

2
the intended recipient, or the employee or agent responsible for
delivering the message to the intended recipient, or if you have
received this communication in error, please notify us immediately by
return e-mail and delete the original message and any copies of it
from your computer system.

For further information about Wilson, Elser, Moskowitz, Edelman &
Dicker LLP, please see our website at www.wilsonelser.com or refer to

any of our offices.
Thank you.

Jason E. Miles, Esq.

Law Office of J. Eugene Miles
711 St. Paul Street

Baltimore, MD 21202
410-727-0406 (t)

410-727-0466 (f)
Smith, Brigitte

From: Smith, Brigitte

Sent: Sunday, November 05, 2017 6:49 AM

To: ‘jem3472@gmail.com'

Subject: RE: Activity in Case 8:17-cv-01877-TJS Bowles v. Wilson et al Affidavit
Importance: High

Mr. Miles,

Please forward your client’s discovery responses and expert designation by November 7, 2017. My client is now
prejudiced by Plaintiff's delay and request a 30 day extension from receipt of your discovery and expert designation to
filed Defendants’ expert designation.

We will file the Motion to Compel on November 8, 2017 if necessary.

Thanks,

Brigitte Smith

Attorney at Law

Wilson Elser Moskowitz Edelman & Dicker LLP

500 East Pratt Street, Suite 600

Baltimore, MD 21202 -3173

410.962.7224 (Direct)

410.539.1800 (Main)

410.962.8758 (Fax)

brigitte.smith@wilsonelser.com / ; .

From: Smith, Brigitte

Sent: Wednesday, October 11, 2017 11:22 AM

To: 'jem3472@gmail.com'; 'JEM@Craighendersonlaw.com’

Subject: FW: Activity in Case 8:17-cv-01877-TJS Bowles v. Wilson et al Affidavit
Importance: High

Mr. Miles:

Please resend your Expert Designation today. We intend to file a Motion to Compel for your client’s overdue discovery if
the responses are not received by Friday. Please advise regarding their status.

Thanks,

Brigitte Smith

Attorney at Law

Wilson Elser Moskowitz Edelman & Dicker LLP

500 East Pratt Street, Suite 600

Baltimore, MD 21202 -3173

410.962.7224 (Direct)

410.539.1800 (Main)

410.962.8758 (Fax)

brigitte.smith@wilsonelser,com

From: MDD CM-ECF Filing@mdd.uscourts.gov [mailto:MDD CM-ECF Filing@mdd.uscourts.gov]
Sent: Tuesday, October 10, 2017 5:25 PM

To: MDDdb_ ECF@mdd.uscourts.gov

Subject: Activity in Case 8:17-cv-01877-TJS Bowles v. Wilson et al Affidavit
This is an automatic e-mail message generated by the CM/ECEF system. Please DO NOT RESPOND to
this e-mail because the mail box is unattended.

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees
apply to all other users. To avoid later charges, download a copy of each document during this first
viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not

apply.
U.S. District Court

District of Maryland

Notice of Electronic Filing

The following transaction was entered by Miles, Jason on 10/10/2017 at 5:24 PM EDT and filed on 10/10/2017
Case Name: Bowles v. Wilson et al

Case Number: 8:17-cv-01877-TJS

Filer: David Kevin Bowles

Document Number: 17

Docket Text:

AFFIDAVIT Rule 26(a)(2) Disclosure by David Kevin Bowles(Miles, Jason)
8:17-cv-01877-TJS Notice has been electronically mailed to:

Brigitte Joelle Smith —brigitte.smith@wilsonelser.com, faith.erline@wilsonelser.com
Jason Eugene Miles jem3472@gmail.com, JEM@Craighendersonlaw.com
8:17-cv-01877-TJS Notice will not be electronically delivered to:

The following document(s) are associated with this transaction:

Document description:Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp ID=1046883720 [Date=10/10/2017] [FileNumber=7708856-
0] [253dcf50d221bc061d44173a6b86772bb!1 105fb858ab06b1 76e0a5 1cc4al 2e60c8
ee8d04bcd665a943 Yabfl 7f4e9f2f6aa7e0da2 1 4c79d2490cbae0ff823acd6] |
